     Case 5:21-cv-00957-VBF-GJS Document 8 Filed 09/22/21 Page 1 of 1 Page ID #:35



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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11 CHRISTOPHER H. LISTER,                ) Case No. 5:21-cv-00957-VBF (GJS)
                                         )
12                  Petitioner,          )
                                         )
13        v.                             ) JUDGMENT
                                         )
14   SANDRA GATT,                        )
                                         )
15                  Respondent.          )
     ___________________________________ )
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           IT IS ADJUDGED that the above-captioned action is dismissed without prejudice.
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19
     Dated: September 2, 2021                 /s/ Valerie Baker Fairbank
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21                                             VALERIE BAKER FAIRBANK
                                               UNITED STATES DISTRICT JUDGE
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